Case: 1:18-cv-05369 Document #: 75-1 Filed: 07/31/19 Page 1 of 4 PageID #:2564




                         EXHIBIT A
           Case: 1:18-cv-05369 Document #: 75-1 Filed: 07/31/19 Page 2 of 4 PageID #:2564


Wilson, Andrew

From:                              Bertin, Robert C. <robert.bertin@morganlewis.com>
Sent:                              Wednesday, December 19, 2018 4:54 PM
To:                                Swenson, Jon; Herrington, Beth
Cc:                                agollwitzer@michaelbest.com; jpfieweger@michaelbest.com; DL Cambium / Ubiquiti
Subject:                           RE: Activity in Case 1:18-cv-05369 Ubiquiti Networks, Inc. v. Cambium Networks, Inc. et
                                   al order on motion for extension of time


John,

We agree to delay defendants’ response to the RFPs until 30 days after the Order.

We disagree with your other characterizations.

Thanks,

Rob

Robert C. Bertin
Morgan, Lewis & Bockius LLP
1111 Pennsylvania Avenue, NW | Washington, DC 20004-2541
Direct: +1.202.373.6672 | Main: +1.202.739.3000 | Fax: +1.202.739.3001
robert.bertin@morganlewis.com | www.morganlewis.com
Assistant: Robyn Canty | +1.202.739.5812 | robyn.canty@morganlewis.com


From: jon.swenson@bakerbotts.com <jon.swenson@bakerbotts.com>
Sent: Tuesday, December 18, 2018 4:33 PM
To: Herrington, Beth <beth.herrington@morganlewis.com>; Bertin, Robert C. <robert.bertin@morganlewis.com>
Cc: agollwitzer@michaelbest.com; jpfieweger@michaelbest.com; DLCambium/Ubiquiti@BakerBotts.com
Subject: FW: Activity in Case 1:18-cv-05369 Ubiquiti Networks, Inc. v. Cambium Networks, Inc. et al order on motion for
extension of time

[EXTERNAL EMAIL]
Counsel:

In light of the Court’s order below that it “is likely to grant a substantial part of the motion to dismiss,” Defendants
request that Plaintiff either withdraws the 510 overbroad requests for production of documents or agrees to delay
response to them until 30 days after the Court rules on the motion to dismiss. The 510 requests, served last night after
we filed our motion for extension of time to provide ESI in response to the MIDP, are a clear attempt to pursue broad
discovery ad odds with this Court’s order on the MIDP ESI production.

Like Plaintiff’s proposed MIDP revisions, the 510 requests are overbroad and at odds with the admissions Plaintiff made
during the hearing on the motion to dismiss and continue to rely on a broad definition of “Ubiquiti Firmware” that
admittedly includes Public Code that is freely licensed. Moreover, 382 of the overbroad requests for production are
directed to defendants that are only accused of a single RICO claim which may be completely eliminated by the Court.

Please confirm by the close of business tomorrow, December 19, that Plaintiff will either withdraw all 510 requests or
agree to delay response to them until 30 days after the Court rules on the motion to dismiss. If we do not have your

                                                             1
           Case: 1:18-cv-05369 Document #: 75-1 Filed: 07/31/19 Page 3 of 4 PageID #:2564
agreement, please provide a time when you can meet-and-confer regarding a request for a protective order with
respect to the discovery.

Thanks,

Jon

From: usdc_ecf_ilnd@ilnd.uscourts.gov <usdc_ecf_ilnd@ilnd.uscourts.gov>
Sent: Tuesday, December 18, 2018 11:13 AM
To: ecfmail_ilnd@ilnd.uscourts.gov
Subject: Activity in Case 1:18-cv-05369 Ubiquiti Networks, Inc. v. Cambium Networks, Inc. et al order on motion for
extension of time


This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to this e-
mail because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of
record and parties in a case (including pro se litigants) to receive one free electronic copy of all documents
filed electronically, if receipt is required by law or directed by the filer. PACER access fees apply to all other
users. To avoid later charges, download a copy of each document during this first viewing. However, if the
referenced document is a transcript, the free copy and 30 page limit do not apply.

                                             United States District Court

                               Northern District of Illinois - CM/ECF LIVE, Ver 6.2.2

Notice of Electronic Filing

The following transaction was entered on 12/18/2018 at 1:12 PM CST and filed on 12/18/2018
Case Name:          Ubiquiti Networks, Inc. v. Cambium Networks, Inc. et al
Case Number:        1:18-cv-05369
Filer:
Document Number: 47

Docket Text:
MINUTE entry before the Honorable Gary Feinerman: Defendants' opposed motion to extend
the deadline to produce ESI pursuant to the MIDP standing order and memorandum in support
thereof [44] is granted. Because the court is likely to grant in substantial part the motion to
dismiss [37], the deadline for producing MIDP ESI is continued generally and will be re-set at
the appropriate juncture. The motion hearing set for 12/20/2018 [45] is stricken. Mailed notice.
(dal, )


1:18-cv-05369 Notice has been electronically mailed to:

Andrew David Wilson     andrew.wilson@bakerbotts.com

Amy Michele Dudash     amy.dudash@morganlewis.com

Elizabeth Brooke Herrington    rebecca.zieben@morganlewis.com, beth.herrington@morganlewis.com,

                                                           2
            Case: 1:18-cv-05369 Document #: 75-1 Filed: 07/31/19 Page 4 of 4 PageID #:2564
rhoda.morris@morganlewis.com, elsa.doi@morganlewis.com, chcalendardepartment@morganlewis.com,
sarah.wasson@morganlewis.com

Arthur Gollwitzer     prlorenzana@michaelbest.com, agollwitzer@michaelbest.com, trhall@michaelbest.com

Karina Smith     karina.smith@bakerbotts.com

Robert C. Bertin    robert.bertin@morganlewis.com

Mark Louis Krotoski     mark.krotoski@morganlewis.com

Jon V Swenson       jon.swenson@bakerbotts.com

Hopkins Guy      hop.guy@bakerbotts.com

Zachary Ryan Lazar      zachary.lazar@morganlewis.com

James Peter Fieweger       lrboyle@michaelbest.com, jpfieweger@michaelbest.com, courtmail@michaelbest.com

Christopher R. Parker     crparker@michaelbest.com, courtmail@michaelbest.com, jmstieg@michaelbest.com

1:18-cv-05369 Notice has been delivered by other means to:




Confidentiality Notice:

The information contained in this email and any attachments is intended only for the recipient[s] listed above and may be privileged
and confidential. Any dissemination, copying, or use of or reliance upon such information by or to anyone other than the recipient[s]
listed above is prohibited. If you have received this message in error, please notify the sender immediately at the email address
above and destroy any and all copies of this message.


DISCLAIMER
This e-mail message is intended only for the personal use
of the recipient(s) named above. This message may be an
attorney-client communication and as such privileged and
confidential and/or it may include attorney work product.
If you are not an intended recipient, you may not review,
copy or distribute this message. If you have received this
communication in error, please notify us immediately by
e-mail and delete the original message.




                                                                  3
